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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORI(
--------------------------X
        Taryn Baldwin


                                       Plaintiff( s),                       23 Civ. 9899 (PAE)
                        -v-                                                            AMENDED
                                                                              CNILCASE
       TMPL Lexington LLC et al.                                          MANAGEMENT PLAN
                                       Defendant(s).                       AND SCHEDULING
                                                                                ORDER

     ------------------X

       This Civil Case Management Plan (the "Plan") is submitted by the parties in accordance
with Fed. R. Civ. P. 26(±)(3).

1.     All parties (do not consent) to conducting all further proceedings before aMagistrate
        Judge, including motions and trial. 28 U.S.C. § 636(c). [Circle one.] The paiiies are
        free to withhold consent without adverse substantive consequences. [If all parties
       consent, the remaining paragraphs need not be completed.]

2.     This case (is)     to be tried to a jury. [Circle one.]

3.     Amended pleadings may not be filed and additional parties may not be joined except with
       leave of the Court. Any motion to amend or to join additional parties shall be filed within
       _ days from the date of this Order. [Absent exceptional circumstances, thirty (30)
       days.] Unchanged-10/31124

4.     Initial disclosures, pursuant to Fed. R. Civ. P. 26(a)(l), shall be completed no later than
       _ days from the date of this Order. [Absent exceptional circumstances, fomieen (14)
       days.] Exchanged.

5.     All fact discovery shall be completed no later than 512112025      . [A period not to
                        ,                                  p
       exceed 120 days unless the Court finds that the case resents unique complexities or
       other exceptional circumstances.]

6.     The parties are to conduct discovery in accordance with the Federal Rules of Civil
       Procedure and the Local Rules of the Southern District of New York. The following
       interim deadlines may be extended by the written consent of all parties without
       application to the Cami, provided that all fact discovery is completed by the date set forth
       in paragraph 5 above.

       a.      Initial requests for production of documents to be served by Completed
       b.      Interrogatories to be served by __eeC,,,
                                                      om=l•""te""d'---------------·



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      c.     Depositions to be completed by __os_12_1_12_0_2s______________
      d.     Requests to Admit to be served no later than Uncltanged--03/17/2025

7.    a.     All expert discovery shall be completed no later than __eOC'J_
                                                                       7/�07!!ci2.,,
                                                                                  0""25"------­
             [Absent exceptional circumstances, a date forty-five (45) days from the date in
             paragraph 5, i.e., the completion of all fact discovery.]

      b.     No later than thiity (30) days prior to the date in paragraph 5, i.e., the completion
             of all fact discovery, the parties shall meet and confer on a schedule for expert
             disclosures, including reports, production of underlying documents and
             depositions, provided that (i) expert report(s) of the party with the burden of proof
             shall be due before those of the opposing party's expert(s); and (ii) all expert
             discovery shall be completed by the date set forth in paragraph 7(a).

8.    All motions and applications shall be governed by the Court's Individual Rules and
      Practices, including the requirement of a pre-motion conference before a motion for
      summary judgment is filed. Pursuant to the authority of Fed. R. Civ. P. 16(c)(2), any
      motion for summary judgment will be deemed untimely unless a request for a pre-motion
      conference relating thereto is made in writing within fourteen (14) days of the date in
      paragraph 5, i.e., the close of fact discovery.

9.    All counsel must meet face-to-face for at least one hour to discuss settlement within
      fourteen ( 14) days following the close of fact discovery.

10.   a.     Counsel for the parties have discussed an infmmal exchange of information in aid
             of early settlement of this case and have agreed upon the following:




      b.     Counsel for the parties have discussed the use of the following alternate dispute
             resolution mechanisms for use in this case: (i) a settlement conference before a
             Magistrate Judge; (ii) participation in the District's Mediation Program; and/or
             (iii) retention of a privately-retained mediator. Counsel for the parties propose the
             following alternate dispute resolution mechanism for this case:
             The Parties are actively engaged in private negotiations in an effmt to attempt to resolve this case.



      c.     Counsel for the parties recommend that the alternate dispute resolution
             mechanism designated in paragraph 1 0(b), be employed at the following point in
             the case (e.g., within the next sixty days; after the deposition of plaintiff is
             completed (specify date); after the close of fact discovery):




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        d.        The use of any alternative dispute resolution mechanism does not stay or modify
                  any date in this Order.

11.     The Final Pretrial Order date is thi1ty (30) days following the close of fact and expert
        discovery (whichever is later). By the Final Pretrial Order date, the parties shall submit a
        Joint Pretrial Order prepared in accordance with the undersigned's Individual Rules and
        Practices and Fed. R. Civ. P. 26(a)(3). Any motions in limine shall be filed after the close
        of discovery on or before the Final Pretrial Order date. If this action is to be tried before
        a jury, proposed voir dire, jury instructions and verdict form shall also be filed on or
        before the Final Pretrial Order date. Counsel are required to meet and confer on a joint
        submission of proposed jury instructions and verdict form, noting any points of
        disagreement in the joint submission. Jur y instructions may not be submitted after the
        Final Pretrial Order date, unless they meet the standard of Fed. R. Civ. P. 5l(a)(2)(A). If
        this action is to be tried to the Court, proposed findings of fact and conclusions oflaw
        should be submitted on or before the Final Pretrial Order date.

12.     Counsel for the parties have conferred and their present best estimate of the length of h-ial
        lS   5das
                V



13.     [Other items, including those in Rule 26(f)(3).]




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TO BE COMPLETED BY THE COURT:

The Plan has been reviewed by the Comt and, except as modified, is adopted as the Scheduling
Order of this Court in accordance with Fed. R. Civ. P. 16(b).

14.     [Other]




15.     The next Case Management Conference is scheduled for June 24, 2025 at 2 p.m.


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        Unless otherwise indicated, the Case Management Conference will be held
 telephonically. The parties should call into the Court's dedicated conference line at (855) 244
8681, and enter Access Code 2318-315-0661, followed by the pound(#) key. Counsel are
 directed to review the Court's Emergency Individual Rules and Practices in Light ofCOVID-19,
 found at https://nysd.uscourts.gov/hon-paul-engelmayer, for the Court's procedures for telephonic
 conferences and for instructions for communicating with chambers.
        All conferences with the Court are scheduled for a specific time; there is no other matter
 scheduled for that time, and counsel are directed to appear promptly. All pretrial conferences
 must be attended by the attorney who will serve as principal trial counsel.
         Please email to EngelmayerNYSDChambers@nysd.uscourts.gov, no later than
 twenty-four hours before the conference, the names of any counsel who wish to enter an
 appearance at the conference, and the number from which each counsel will be calling.




         This ORDER may not be modified or the dates herein extended, except by further Order
 of this Court for good cause shown. Any application to modify or extend the dates herein
 ( except as noted in paragraph 6) shall be made in a written application in accordance with
 paragraph 1.E of the Court's Individual Rules and Practices and shall be made no less than two
 (2) business days prior to the expiration of the date sought to be extended.




                                                            Paul A. Engelmayer "        u
                                                            United States District Judge

 Dated:        New York, New York
               April 8, 2025




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